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                        IN THE UNITED STATES DISTRICT COURT


                      FOR THE SOUTHERN DISTRICT OF GEORGIA


                                    AUGUSTA DIVISION


UNITED STATES OF AMERICA


               VS.                                                CASE NO: CR115-100


MARISSA ASHTON ROBERTS


                                          ORDER


        The Indictment against defendant Marissa Ashton Roberts was dismissed on February 16,

2016.


        Surety, Thomas Guy, has requested the return of the $1,000.00 cash security posted on

the defendant's $10,000.00 bond.

        IT IS HEREBY ORDERED that the cash collateral in the amount of $1,000.00 posted

byThomas Guy for this defendant, plus all accrued interest thereon, be returned to: Thomas Guy

at 2339 Noah Station Road, Matthews, Georgia, 30818 •




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        This                                     2016 at Augusta, Georgia.
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                                                           E|AL HALL/DISTRICT JUDGE
                                                             STATES DISTRICT COURT
                                                           IERN DISTRICT OF GEORGIA
